                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                              DOCKET NO.: 3:04CR130


UNITED STATES OF AMERICA,                 )
          Plaintiff,                      )
vs.                                       )
                                          )                              ORDER
TERRENCE JERMAINE MALACHI,                )
            Defendant.                    )
                                          )
_________________________________________ )


       THIS MATTER IS BEFORE THE COURT upon the receipt of a letter, dated July 4,

2005, from Terrence Malachi, to United States Magistrate Judge Carl Horn (the “Letter”). In the

Letter, Mr. Malachi, who is currently in custody, asks for a bond review hearing.

       The record reflects that Mr. Malachi is represented by appointed counsel, Steven T. Meier.

It is the practice of this Court, when a defendant is represented by counsel, to rule on motions filed

only by counsel of record. Therefore, if Mr. Malachi has any matters he wishes this Court to

consider, they must be submitted through his attorney.

       IT IS, THEREFORE, ORDERED that Mr. Malachi’s request for a bond review hearing

is DENIED without prejudice to his right to re-file the motion, if appropriate, through his attorney,

Mr. Meier.

       The Clerk of Court is directed to send a copy of the Letter to Mr. Meier along with his copy

of this Order.




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                        Signed: July 11, 2005




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